Case 1:18-cv-24100-MGC Document 40-1 Entered on FLSD Docket 10/21/2019 Page 1 of 2
                                                      &9)*#*5"
    From:                Craig Greene
    To:                  Riley Kennedy; Dana Birchall
    Cc:                  Kristina Pett; Marcia Lamarque; Joanne Napoli
    Subject:             RE: Vinas v. Foresters
    Date:                Tuesday, October 15, 2019 4:15:50 PM
    Attachments:         image001.png
                         image004.png



    Riley,
    I’m not putting a whole explanation of your position. Do you oppose the relief? If you do
    please advise. If not, please advise. I just need to document one or the other. If I don’t hear
    from you by 4:30, I’ll indicate your opposition.
    Naturally, if you have any questions, please feel free to contact me.
    Craig
                                                                Craig M. Greene, Esq.
                                                                CGreene@KramerGreen.com
                                                                Office 954-966-2112
                                                                Direct 954-362-3060
    WWW.KRAMERGREEN.COM                                         Cell 954-290-4848 Fax 954-981-1605
                                                                Kramer, Green, Zuckerman, Greene &
                                                                Buchsbaum, P.A.
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                                                                Hollywood, Florida 33021
                                                                THIS E-MAIL MESSAGE MAY CONTAIN LEGALLY PRIVILEGED AND/OR CONFIDENTIAL
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                                                                FROM YOUR COMPUTER.



    From: Riley Kennedy [mailto:riley.kennedy@mhllp.com]
    Sent: Tuesday, October 15, 2019 4:13 PM
    To: Dana Birchall
    Cc: Kristina Pett; Marcia Lamarque; Craig Greene; Joanne Napoli
    Subject: RE: Vinas v. Foresters
    Thanks Dana.
    We do not feel the Certificate is entirely accurate. We would ask that you include in the
    certificate that while we do not oppose the relief requested as long as the hearing is
    scheduled on a mutually convenient date and time, we do oppose the content of the
    motion and certain characterizations made in the motion, particularly as to paragraphs 2
    and 3 of the motion.
    If you make that change in the certificate then it should be fine. Please send adjusted
    version before filing same.
    ^ŝŶĐĞƌĞůǇ͕
    Riley F. Kennedy
    McDowell Hetherington LLP
    P: 561-430-3024 F: 561-982-8985
    CONFIDENTIALITY NOTICE
    The information in this e-mail may be confidential and/or privileged. This e-mail is intended to be reviewed by only the
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    individual or organization named above. If you are not the intended recipient or an authorized representative of the intended
    recipient, you are hereby notified that any review, dissemination or copying of this e-mail and its attachments, if any, or the
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    return e-mail and delete this e-mail from your system.
    From: Dana Birchall <dbirchall@kramergreen.com>
    Sent: Tuesday, October 15, 2019 2:45 PM
    To: Riley Kennedy <riley.kennedy@mhllp.com>
    Cc: Kristina Pett <kristina.pett@mhllp.com>; Marcia Lamarque <marcia.lamarque@mhllp.com>;
    Craig Greene <cgreene@kramergreen.com>; Joanne Napoli <JNapoli@kramergreen.com>
    Subject: Vinas v. Foresters
    Hi Mr. Kennedy:
    Craig asked me to forward the attached Motion to Schedule Hearing Outside
    Available Discovery Hearing Time. Please advise if the S.D. Fla. L.R. 7.1(a)(3)
    Certificate is accurate.
    Naturally, if you have any questions, please feel free to contact me.
    Dana
    DANA R. BIRCHALL (dbirchall@kramergreen.com)
    Legal Assistant to
    CRAIG M. GREENE, ESQ. (cgreene@kramergreen.com)
    KRAMER, GREEN, ZUCKERMAN,
    GREENE & BUCHSBAUM, P.A.
    4000 Hollywood Boulevard, Suite 485-S
    Hollywood, Florida 33021
    (954) 362-3061 – direct phone
    (954) 981-1605 – fax

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